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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE FIRSTENERGY CORP. SECURITIES                     Case No. 2:20-cv-03785-ALM-KAJ
LITIGATION,
                                                       Chief Judge Algenon L. Marbley
This document relates to:
                                                       Magistrate Judge Kimberly A. Jolson
      ALL ACTIONS.


                                       ORDER & OPINION

       This matter is before this Court on Defendant FirstEnergy Corp.s (FirstEnergy) Notice

of Objections to the Special Masters Orders Dated November 29, 2023, and November 30, 2023

(Doc. 607); FirstEnergys and Individual Defendants Objections to the Special Masters Report

and Recommendation on FirstEnergys Motion to Stay (Docs. 643, 644); FirstEnergys Objections

to the Order by the Special Master Denying Motion for Reconsideration (Doc. 645); and

FirstEnergys Objections to the Special Masters Order Denying Leave to File a Reply (Doc. 640).

For the following reasons, the Objections and the request for oral argument on the Objections are

OVERRULED.

                                        I.      Background

       This Court has previously summarized the facts giving rise to this action. (See Docs. 175,

219, 461). Relevant here, Plaintiffs allege that FirstEnergy and its most senior executives bankrolled

one of the largest corruption and bribery schemes in U.S. history, and once FirstEnergys role was

revealed, the price of FirstEnergy stock plummeted. (Doc. 72 at ¶ 3, 9). On July 21, 2020, Former

Ohio House Speaker Larry Householder was arrested for his part in the scheme. (Id. at ¶ 8). After

his arrest, FirstEnergy conducted internal investigations. (Doc. 607-1 at 13; Doc. 571 at 2). One

investigation, conducted by Squire Patton Boggs (Squire), began on July 28, 2020. (See Doc. 529
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at 6; see also Doc. 489-1 at 12). Another investigation by Jones Day also began within days of Larry

Householders arrest. (Doc. 510 at 18; Doc. 607-1 at 22). Yet, as noted by the Special Master, the

parties often treated the two investigations as one in their briefing on this Motion. (Doc. 571 at 16).

       Movants, consisting of Plaintiffs and Defendants Michael J. Dowling and Charles E. Jones,

moved to compel documents and information related to the internal investigations. (See Doc. 489).

Movants argued that these investigations were motivated primarily by business and human resources

purposes, and Defendant FirstEnergy could not meet its burden of establishing that the materials

sought were privileged or protected by work-product doctrine. (Doc. 489 at 2). FirstEnergy

responded that the investigations were protected, because they were conducted for the purpose of

obtaining legal advice and to defend against the newly filed and anticipated civil actions and

criminal charges. (Doc. 510 at 10).

       In support of its arguments, FirstEnergy presented a declaration from Defendant James ONeil

(the ONeil Declaration). (Doc. 511-1 at 17). ONeil serves on FirstEnergys Board of Directors

and has held that position since January 17, 2017. (Id. at 2). His declaration asserted that the

investigations were conducted because FirstEnergy was facing sudden and extraordinary legal risk

from government investigations and litigation. (Doc. 510 at 12). Other than this declaration, First

Energy offered little evidence of the motivations behind the investigations, other than general

references to lawsuits against the company and its cooperation with government entities. (See Doc.

510 at 2126; see also Doc. 607-1 at 6467).

        The parties fully briefed the Motion. (See Docs. 489, 510, 511, 529, 530). Then, the Court

appointed Shawn K. Judge as Special Master and referred the Motion to him. (Doc. 541); Fed. R.

Civ. P. 53. The parties participated in oral argument in front of the Special Master and completed

limited supplemental briefing. (See Docs. 549, 550, 612). During a November 28, 2023, status




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conference, the Special Master issued a preliminary decision, which he then memorialized in a written

order dated November 29, 2023. (Doc. 571). Before this order, neither the parties nor the Special

Master raised any deficiency with the ONeil Declaration.

        The Special Masters November 29 Order granted the Motion (Doc. 489) and found that the

internal investigations were not privileged or protected by work-product doctrine. In doing so, the

Special Master pointed out a fatal flaw in the ONeil Declaration: it failed to fulfill the requirements

of 28 U.S.C. § 1746. (Doc. 571 at 8). The Special Master explained that although the declaration

provides it is under of penalty of perjury, bears the execution date, and is signed, the declaration

never states anywhere that its contents are declared as true. (Id. at 9 (emphasis in original)).

Accordingly, the Special Master said the ONeil Declaration was just a document and not evidence

that could be considered under precedent and the local rules. (Id.; see also id. at 913 (citing cases in

support)). After considering the dearth of evidence otherwise submitted by FirstEnergy, the Special

Master found that FirstEnergy failed to meet its burden. (Id. at 1417). As such, the Special Master

granted the motion to compel and left unaddressed the parties waiver of privilege arguments. (Doc.

571 at 16).

        Defendant then filed a motion requesting a stay pending final judicial resolution of

FirstEnergys objections to the Special Masters decision. (Docs. 573, 574). FirstEnergy also argued

that the Special Master should have allowed them to file an amended version of the ONeil

Declaration, citing Ross v. City of Dublin, No. 2:14-cv-2724, 2016 WL 7117389 (S.D. Ohio Dec. 7,

2016). (Doc. 574 at 78). Yet FirstEnergy never filed a separate motion seeking leave to amend the

declaration. On November 30, 2023, after oral argument, the Special Master issued another order

denying FirstEnergys oral motion for leave to belatedly supplement [the ONeil Declaration] to the

extent that FirstEnergys argument can be construed as making such a motion. (Doc. 575 at 2).




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        FirstEnergy subsequently filed its objections to the Special Masters order granting the motion

to compel and his order denying the amendment. (Doc. 607). Movants responded, (Doc. 614, 615),

and FirstEnergys objections are now ripe for review.

                                     II.     Standard of Review

        Under the Courts Order of Appointment and Rule 53, the Court reviews de novo all of the

Special Masters findings of fact and conclusions of law and will set aside a ruling on a procedural

matter only for an abuse of discretion. (Doc. 541 at 67); Fed. R. Civ. P. 53(f)(3)(5). This is similar

to the scope of review of a district courts discovery orders by the circuit court. Ravin Crossbows,

LLC v. Hunter's Mfg. Co., No. 5:18-cv-1729, 2020 WL 7706257, at *2 (N.D. Ohio Dec. 29, 2020)

(citing Hahn v. Star Bank, 190 F.3d 708, 719 (6th Cir. 1999)). The scope of permissible discovery,

the issue at hand, is a procedural matter that the Court reviews for abuse of discretion. See Ciccio v.

SmileDirectClub, LLC, 2022 WL 2182301, at *1 (M.D. Tenn. June 16, 2022) (Because a special

masters ruling on the scope of permissible discovery is considered a procedural matter . . . the Court

reviews for abuse of discretion.). Courts in this circuit and other circuits have reviewed a special

masters various discovery orders for abuse of discretion. See, e.g., Emergency Pro. Servs., Inc. v.

Aetna Health, Inc., No. 1:19-cv-1224, 2023 WL 1987307, at *2 (N.D. Ohio Feb. 14, 2023) (order

allowing discovery on five categories of information); Ravin Crossbows, LLC, 2020 WL 7706257, at

*2 (order requiring specific information be exchanged for mediation); In re Hardieplank Fiber

Cement Siding Litig., No. 12-md-2359, 2014 WL 5654318, at *1 (D. Minn. Jan. 28, 2014) (order

compelling production of documents).

        An abuse of discretion occurs where the reviewing court has a definite and firm conviction

that a clear error of judgment has occurred. Liberty Ford Lincoln Mercury, Inc. v. Ford Motor Co.,

No. 1:21-cv-02085, 2023 WL 4991718, at *2 (N.D. Ohio Aug. 4, 2023) (citation omitted).




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Furthermore, [a] ruling that is arbitrary, unjustifiable, or clearly unreasonable constitutes an abuse of

discretion. Id. In practice, this standard results in upholding a decision that falls within a broad

range of permissible choices even where the reviewing court might not reach the same result. Id.

         But there is another wrinkle. Parts of FirstEnergys objections concern attorney-client

privilege. Because [t]he question of whether the attorney client privilege applies is a mixed question

of law and fact, the Sixth Circuit primarily guides that such decisions are subject to de novo review.

In re Columbia/HCA Healthcare Corp. Billing Pracs. Litig., 293 F.3d 289, 29394 (6th Cir. 2002).

Yet this guidance has not always been consistent, and the Sixth Circuit has, at times, reviewed

privilege issues under a more deferential standard. See Stone Surgical LLC v. Stryker Corp., 858 F.3d

383, 39192 (6th Cir. 2017) (reviewing a courts decision to exclude emails due to attorney-client

privilege as an evidentiary matter subject to abuse of discretion); Chesher v. Allen, 122 F. Appx 184,

18788 (6th Cir. 2005) (remanding for consideration under a clearly erroneous standard, where a

district court reviewed an issue involving the crime-fraud exception to attorney-client privilege de

novo).

         Therefore, erring on the side of caution, the Court reviews the Special Masters determinations

regarding attorney-client privilege de novo and reviews procedural matters for abuse of discretion.

                                  III.    FirstEnergys Objections

         FirstEnergy submitted numerous objections to the Special Masters orders. The Court

addresses each in turn.

                            A. The Exclusion of the ONeil Declaration

         The company first argues that the Special Master erred in concluding that the ONeil

Declaration did not comply with 28 U.S.C. § 1746. In doing so, FirstEnergy asserts that the

declaration met the Sixth Circuits substantial compliance standard for 28 U.S.C. § 1746. (Doc.




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607-1 at 2934). Alternatively, FirstEnergy argues that even if the ONeil Declaration did not comply

with Section 1746, Federal Rule of Evidence 104(a) allows courts to consider affidavits that bear

indicia of reliability even if unsworn, defective, or otherwise inadmissible, and the Special Master

erred in not doing so. (Doc. 607-1 at 3435).

                               1. Requirements of 28 U.S.C. § 1746

       Evidentiary issues, such as the decision to strike an unsworn declaration, are reviewed for

abuse of discretion. See Counts v. Kraton Polymers, U.S. LLC, 260 F. Appx 825, 829 (6th Cir. 2008)

(reviewing the district courts decision to strike undated, unsworn declarations under 28 U.S.C. § 1746

for abuse of discretion). Therefore, FirstEnergys footnote arguing for de novo review is unpersuasive

since the Sixth Circuit has said otherwise. (Doc. 607 at 29 n.6 (citing cases where courts review

procedural matters de novo)); Counts, 260 F. Appx at 829 (reviewing the district court for abuse of

discretion, even where the party argued that Sixth Circuit precedent did not require strict compliance

with 28 U.S.C. § 1746). But nonetheless, under either standard, the outcome would be the same, and

FirstEnergys objection is not well-taken.

       At issue is the language of 28 U.S.C. § 1746. While the statute allows a declarations language

substantially to follow a set form, the Special Master found that Section 1746 explicitly requires a

declarant to state that the information contained in the declaration is true. 28 U.S.C. § 1746. And

the Special Masters reading of the statute has support from the Sixth Circuit. The Sixth Circuit held

in Bonds v. Cox that a declaration under Section 1746 is permitted to be used as evidence only if

subscribed as true under penalty of perjury and dated. 20 F.3d 697, 702 (6th Cir. 1994) (internal

quotations omitted) (emphasis omitted). The language of Section 1746, as well as the language in

Bonds, makes clear that an unsworn declaration under 28 U.S.C. § 1746 has four requirements:

unsworn declarations can be used as evidence only if they are subscribed as true, sworn under




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penalty of perjury, dated, and signed. Bonds, 20 F.3d at 702; see also Counts, 260 F. Appx at 829,

n.1 (rejecting a partys argument that other courts have found Section 1746 not to require such a rigid

approach).

       FirstEnergy says the Sixth Circuit held that Section 1746 require[s] only substantial

compliance and that the ONeil Declaration substantially fulfilled the requirements laid out in the

statute. (Doc. 607-1 at 30, citing Peters v. Lincoln Elec. Co., 285 F.3d 456, 47576 (6th Cir. 2002)).

But the authority FirstEnergy cites says no such thing. See generally Peters, 285 F.3d at 47576

(stating nowhere that Section 1746 require[s] only substantial compliance). Nonetheless, Peters is

unpersuasive here. In Peters, the plaintiff challenged an unsworn declaration because it was undated,

not because it was not declared as true. 285 F.3d at 475. The Sixth Circuit narrowly held that undated

declarations can be considered as long as extrinsic evidence [can] demonstrate the period when the

document was signed. Id. (internal quotation omitted). In no way did the Sixth Circuit modify the

requirement that an unsworn declarations contents must be subscribed as true. Id. And in Peters,

the defendant remedied the deficiency by filing a second affidavit before the court made its decision,

which FirstEnergy did not do. Id. at 476. Still more, the Sixth Circuit has expressly rejected

FirstEnergys argument that Peters overruled Bonds or changed what is required for an unsworn

declaration under Section 1746. Counts, 260 F. Appx at 829.

       Additionally, the declared as true requirement is key because, as the Special Master

thoughtfully reasoned:

       [A] declarant can state falsehoods while recognizing he or she is under penalty of
       perjury because the declarant has not declared the statement to be truebut when the
       declarant declares a statement to be true while concurrently recognizing the
       consequenceby declaring him or herself to be under penalty of perjurythe
       recognition of the consequences of lying takes on real meaning as risk attaches.

(Doc. 571 at 12).




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        The Court agrees with the Special Master that unsworn declarations, under the language of

the statute and Sixth Circuit precedent, must be subscribed as true. Bonds, 20 F.3d at 702.

Following this logic, the Special Master did not err in rejecting the ONeil Declaration. The

declaration lacked an essential element, and the Special Master properly followed the law and the

local rules in disregarding it. See S.D. Ohio Civ. R. 7.2(e) (setting out the requirements of evidence

used in support of any motion in this district). While FirstEnergy cites out-of-circuit cases where

courts accepted declarations that omitted the true and correct language, these are simply examples

of courts exercising their discretion. Counts, 260 F. Appx at 829 n.1; Liberty Ford Lincoln

Mercury, Inc., 2023 WL 4991718 at *2 (finding that courts might reach different results without an

abuse of discretion). As such, the Special Master did not abuse his discretion, and FirstEnergys

objection is OVERRULED.

                                            2. Rule 104(a)

        Notwithstanding FirstEnergys failures under Section 1746, FirstEnergy argues that the

Special Master should have considered the ONeil Declaration under Federal Rule of Evidence

104(a). (Doc. 607-1 at 34). Notably, FirstEnergy never made this argument. (See Docs. 612). As

such, FirstEnergy potentially has waived this argument.            See NOCO Co., Inc. v. Shenzhen

Changxinyang Tech. Co., Ltd., No. 1:17-cv-2210, 2019 WL 1723358, at *6 (N.D. Ohio Apr. 18, 2019)

(finding, when reviewing objections, that a party waived an argument because they never raised it

with the special master); Cooper Hosp./Univ. Med. Ctr. v. Sullivan, 183 F.R.D. 119, 130 (D. N.J.

1998) (holding that a party waives its right to object when they fail to make arguments concerning

Rule 104(a) before the trial court).

        Still, FirstEnergy argues that courts often consider affidavits under Rule 104(a) that bear

indicia of reliability even if they are deficient in other ways. (Doc. 607-1 at 34). But unlike the cases




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FirstEnergy cites, the ONeil Declaration does not bear indicia of reliability. For example, Mr. ONeil

is a defendant in this case, not a former coworker who is not a party to the action. See Tarochione v.

Roberts Pipeline, Inc., 62 F. Supp.3d 821, 823 (N.D. Ill. 2014). Nor is he a former attorney who

unexpectedly failed to appear to testify. United States v. Straker, 596 F. Supp.2d 80, 84 (D.C. 2009).

Further, as the Special Master noted, FirstEnergy failed to offer any other evidence besides common

sense and references to ongoing litigation to corroborate Mr. ONeils statements. (See Doc. 571 at

15; Doc. 607-1 at 6467); cf. United States v. Johnson, No. 2:12-cr-67, 2012 WL 7761544, at *19 (D.

Nev. Dec. 26, 2012) (deciding not to exclude a declaration because the statements contained within it

were corroborated by other evidence); see United States v. Alahmedalabdaloklah, No. 12-cr-1263,

2017 WL 3172875, at *2 (D. Ariz. July 26, 2017) (Although Rule 104(a) of the Federal Rules of

Evidence provides that a court is not bound by evidence rules in deciding certain preliminary

questions . . . a declaration or affidavit is relevant only to the extent it is reliable[.]).

        These facts suggest that the ONeil Declaration may be unreliable, and as such, Rule 104(a)

cannot be used to cure FirstEnergys failure to provide a proper declaration. FirstEnergys objection

is OVERRULED.

                  B. The Special Masters Sua Sponte Striking of the Declaration

        FirstEnergy next argues that Movants waived any objection to the ONeil Declaration, and

the Special Master should not have sua sponte addressed the declarations deficiency. FirstEnergy

also contends that the Special Masters decision to strike the ONeil Declaration sua sponte, without

giving the company an opportunity to be heard, was an abuse of discretion.

        Courts have the power to exclude evidence sua sponte. Ondo v. City of Cleveland, 795 F.3d

597, 604 (6th Cir. 2015) (citing HDM Flugservice GmbH v. Parker Hannifan Corp., 332 F.3d 1025,

2034 (6th Cir. 2003)). This includes unsworn declarations and affidavits, and courts have done so




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without offering parties a chance to be heard or to cure their mistakes. See Enigwe v. Diversity City

Media, No. 2:07-cv-250, 2008 WL 11352583, at *2 (S.D. Ohio June 2, 2008) (sua sponte striking an

unsworn declaration that did not comply with 28 U.S.C. § 1746); Jennings v. Natl R.R. Passenger

Corp., No. 97-c-6385, 1998 WL 460270, at *7 (N.D. Ill. July 30, 1998) (stating that because the

affidavits were undated and did not say the subject matter was true and correct, [t]he court would be

justified in striking them); Mitchel v. Buncich, No. 2:11-cv-91, 2013 WL 275592, at *4 (N.D. Ind.

Jan. 24, 2013) (striking sua sponte an undated affidavit without a motion); Tripati v. Corizon Inc.,

No. 18-cv-66, 2020 WL 673490, at *8 (D. Ariz. Feb. 11, 2020) (striking sua sponte a declaration

without giving plaintiff an opportunity to fix the alleged deficiency).

        And like a court, [d]uring the performance of his duties, a master is functionally

indistinguishable from a trial judge. Accusoft Corp. v. Palo, 237 F.3d 31, 58 (1st Cir. 2001). So,

like a trial court, the Special Master had the authority to strike evidence sua sponte, and this Court

reviews his decision for abuse of discretion. See HDM Flugservice GmbH, 332 F.3d at 1034 (holding

that the decision to sua sponte exclude evidence is within a trial courts discretion).

        Because the Court agrees that the ONeil Declaration was deficient, the Court cannot say that

the Special Master clearly erred in rejecting it. Werner v. Young, 22-5197, 2023 WL 639103, *9 (6th

Cir. Jan. 27, 2023) (finding the district court did not abuse its discretion in sua sponte striking portions

of an affidavit). And FirstEnergy should not have been caught off guard. Throughout their briefing,

Movants raised challenged to the ONeil Declaration. (Doc. 615 at 36, n.5 (summarizing Movants

challenges to the ONeil Declaration, based on ONeils status as a defendant and conclusory

statements within his declaration)). Accordingly, FirstEnergy had notice and opportunity to present

evidence of the motivations behind the internal investigation. (See Docs. 510, 511, 550, 587, 612

(briefing on the motion to compel and oral argument by FirstEnergy)). FirstEnergy chose not to




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bolster the record. Therefore, this objection is OVERRULED.

            C. Denial of FirstEnergys Request to Amend the ONeil Declaration

       FirstEnergy also objects to the Special Masters denial of its request to amend the ONeil

Declaration and the standard he used in doing so. (Doc. 607 at 37). The Court reviews the Special

Masters decision for an abuse of discretion. See Moore v. United States Dept of Agric., No. 17-

5363, 2018 WL 1612299, at *3 (6th Cir. Jan. 31, 2018) (reviewing a courts decision to not allow an

amended affidavit after summary judgment was granted for an abuse of discretion).

       At the outset, the Court notes that FirstEnergy never filed a motion to amend the ONeil

Declaration. On November 30, 2023, the Special Master held an emergency status conference at the

parties request after granting the motion to compel. (See Doc. 587 (transcript of the November 30,

2023, status conference)). During that status conference, FirstEnergy relied upon Ross v. City of

Dublin to argue that it should have an opportunity to amend the Declaration. (Id. at 9, 1213). No.

2:14-cv-2724, 2016 WL 7117389 (S.D. Ohio Dec. 7, 2016).

       The Special Master responded:

       *** In Ross, as FirstEnergy pointed out, Chief Judge Marbley allowed the offending
       party to file an amended or supplemental replacement declaration to correct what was
       deemed a technical deficiency.
                 . . . . No party has suggested to me that Ross stands for and my re-reading of
       Ross a moment ago does not indicate any basis that a party is entitled to amend.
       Theres a difference between a permissive you can file an amendment with this Court
       versus youre entitled to file an amendment with leave of Court. This is a procedural
       question subject to [abuse] of discretion. . . . In other words, I view FirstEnergy as not
       having a right to correct its error in this regard.
                 Its a substantive error. There is no procedural entitlement, however, to correct
       that. . . . I dont have a motion in front of me to file an amended declaration. In Ross,
       there was a pending motion that was filed that was concurrently pending before the
       Court before the related summary judgment was decided. So in other words, you had
       a declaration that was supporting a motion that had not been decided and there was a
       motion to amend the declaration.
                 Thats not the scenario we had here. Here, there was a declaration filed to
       support the motion to compel briefing. There was a decision reached in that and only
       then did FirstEnergy come forward and say, We would like to correct the deficiency.



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         So I think Ross is distinguishable. Ross doesnt create an entitlement here. The local
         rules call for a motion when you want the Court to act and therefore, when you want
         to delegate an authority of the Special Master to be imposed, you have to file a motion.
         There is no motion here.

(Doc. 587 at 2728).

         Nonetheless, even though FirstEnergy never filed a motion to amend the ONeil Declaration,

the Special Master construed FirstEnergys arguments as an oral motion, which he then denied for a

lack of good cause shown. (Id. at 2829).

         As Movants note, neither side has cited a case setting forth the legal standard for amending

declarations after the motions to which they are attached have been decided. (Doc. 615 at 33).

FirstEnergy argues that the standard is whether the amendment would have prejudiced Movants and

whether the amendment would serve the interests of justice. (Doc. 607-1 at 37, citing Fox v. Brown

Meml Home, Inc., No. 2:09-cv-915, 2010 WL 4983153, at * 2 (S.D. Ohio Dec. 2, 2010)). For their

part, Movants argue that the Special Master used the proper standard of good cause, as is used for

motions for leave. (Doc. 615 at 33).

         The Court agrees with Movants that the good cause standard applied by the Special Master is

appropriate here.1 In the past, this Court used a good cause standard in finding that parties should

seek leave to file additional evidence in support of motions for protective orders. See Stillwagon v.

City of Delaware, No. 2:14-cv-807, 2016 WL 6248956, at *3 (S.D. Ohio Oct. 26, 2016) (denying a



1
  This Court notes that perhaps FirstEnergys burden to amend the ONeil Declaration should be even higher. Here,
FirstEnergy sought to amend its deficient declaration only after losing a motion to compel. This situation is analogous
to that in which a plaintiff seeks to amend a complaint after losing a motion to dismiss under Rule 12(b)(6) or where
a party seeks relief from an adverse decision under Rule 60 or Rule 59. See, e.g., Leisure Caviar, LLC v. U.S. Fish
and Wildlife Serv., 616 F.3d 612, 61516 (6th Cir. 2010) (When a party seeks to amend a complaint after an adverse
judgment, it thus must shoulder a heavier burden. Instead of meeting only the modest requirements of Rule 15, the
claimant must meet the requirements for reopening a case established by Rules 59 or 60.); Grant v. Target Corp.,
No. 2:10-cv-823, 2013 WL 5366201 (S.D. Ohio Sept. 24, 2013) (finding a court may only grant a Rule 59(e) motion
if there was a (1) a clear error of law; (2) newly discovered evidence; (3) an intervening change in controlling law;
or (4) a need to prevent manifest injustice and refusing to do so where a plaintiff failed to timely provide enough
evidence to the court to support his motions to compel and motions for summary judgment). But because FirstEnergy
did not satisfy even a good cause standard, the Court leaves this determination for another day.


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defendants request to come forward with more evidence supporting his inability to be deposed and

noting that he never sought leave to do so). In Stillwagon, the plaintiff sought to depose a defendant,

who filed a motion for a protective order and argued that his medical condition prevented him from

being deposed. Id. at *2. In support of his motion, the defendant offered only a letter, which did not

conform to the requirements of an affidavit or a declaration under Section 1746. Id. at *3. Before the

Courts decision, the defendant suggested that the Court should allow him to collect additional

evidence to support his arguments, which the Court rejected. Id. The Court reasoned that the

defendant should have filed his evidence sooner and faulted him for not seeking leave. Id.

        It is clear that precedent and the local rules instruct a party to seek leave when wanting to file

belated evidence in support of a motion. See also Price v. United States, No. 2:18-cv-949, 2019 WL

13161447, at *2 (S.D. Ohio Aug. 14, 2019) ([I]f Plaintiff wishes to offer additional evidence in

relation to USAs Motion to Dismiss, he would first require leave of Court because briefing on that

motion has already closed[.]);S.D. Ohio Civ. R. 7.2(a)(2) (stating that [n]o additional memoranda

beyond those enumerated can be filed without leave of court for good cause shown); S.D. Ohio

Civ. R. 7.2(d) (stating that evidence necessary to support a motion must be attached to the primary

memorandum of the party relying on that evidence); S.D. Ohio Civ. R. 7.2(e) (Unless already of

record, such evidence shall be attached to the memorandum. . . . All evidence shall be submitted

within the time limit set forth [in the local rules].).

        In his decision, the Special Master stated that FirstEnergy showed no good cause. . . other

than it was simply not done correctly and no one brought it to [the Special Masters attention] until

after an adverse decision was filed. (Doc. 587 at 28). This Court agrees with the Special Master and

finds that even if the ONeil Declarations deficiency was simply a mistake, the Special Master did

not abuse his discretion in denying an amendment after his decision was made. See Moore, 2018 WL




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1612299, at *3 (finding no abuse of discretion where the district court denied plaintiffs motion to

submit an amended affidavit after a magistrate judge granted summary judgment, even though

plaintiff relied primarily on the affidavit in his briefing).

         As the Special Master reasoned, FirstEnergys attorneys were elsewhere capable of crafting a

compliant declaration under Section 1746, and the statutes requirements are not onerous nor

complicated. (Doc. 571 at 13). While FirstEnergy leans on this Courts decision in Ross to allow

such an amendment, Ross is simply an example of the Court using its discretion and does not require

a FirstEnergy win here. 2016 WL 7117389, at *8. Finally, FirstEnergy cites no cases in which a

reviewing court found an abuse of discretion where an amended declaration was denied after the

underlying motion was decided.

         Therefore, the Special Master did not abuse his discretion, and FirstEnergys objection is

OVERRULED.

    D. The Special Masters Analysis of the Record, Privilege, and Work-Product Doctrine

         FirstEnergys next three objections deal with the Special Masters evaluation of evidence and,

consequently, his decisions concerning attorney-client privilege and work product doctrine. At the

outset, the Court must note the somewhat unusual way that the parties have litigated these issues. The

parties agreed to forgo privilege logs for communications, documents, or work product exchanged

between FirstEnergy and its outside counsel concerning the litigations set out in Exhibit A that are

dated after July 21, 2020 [the date of Larry Householders arrest].2 (Doc. 295 at 23, 10; see also

Doc. 510 at 20 n.5 (discussing the parties agreement)). Moreover, during the pendency of this


2
  FirstEnergy included in its response to the motion to compel a privilege log prepared by PricewaterhouseCoopers,
dated May 1, 2023. (Doc. 511 at 23). But the parties never cite or rely upon this two-page privilege log. The parties
also do not explain the relevance of any of the logged documents to the internal investigation or to the motion to
compel. And FirstEnergy also notes in its briefing that the parties agreed that privileged communications and work
product concerning H.B. 6-related matters dated after July 21, 2020 did not need to be logged. (Doc. 607-1 at 20,
n.5). As such, the Court is unable to determine the relevancy of FirstEnergys Exhibit Four and whether this log
encompasses the materials sought by Movants.


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Motion, neither party requested in camera review of any investigation materials. (See Doc. 571 at

16). And finally, as the Special Master explained, the parties often bundled the two investigations

into one, seemingly taking an all-or-nothing approach. (Doc. 571 at 16). As such, in determining

whether materials are privileged or protected by work-product doctrine, the Court necessarily relies

on the record as presented by the parties.

                                1. Other Evidence in the Record

       FirstEnergy argues that the Special Master ignored overwhelming evidence besides the

ONeil Declaration and erred in deciding FirstEnergy did not meet its burden for establishing

attorney-client privilege and work product protection. (Doc. 607-1 at 40).

       Again, FirstEnergy has the burden here. See Cooey v. Strickland, 269 F.R.D. 643, 64748

(S.D. Ohio 2010). To meet the burden, FirstEnergy must assert the privilege or work-product

protection with particularity for each document, or category of documents it seeks to withhold. In

re Haynes, 577 B.R. 711, 740 (E.D. Tenn. 2017) (quoting Victor Stanley, Inc. v. Creative Pipe, Inc.,

250 F.R.D. 251, 26667 (D. Md. 2008)); see also Fed. R. Civ. P. 26(b)(5) (stating that when a party

withholds materials as privileged, they must describe the materials being withheld so other parties

can assess the claim). FirstEnergy must then provide evidence by way of affidavits, depositions,

or equivalent proof that the materials are privileged or protected. In re Behr Dayton Thermal

Products, LLC, 298 F.R.D. 369, 72 (S.D. Ohio 2013) (citing Biegas v. Quickway Carriers, Inc., 573

F.3d 365, 38182 (6th Cir. 2009)); see Erickson v. Hocking Tech. Coll., No. 2:17-cv-360, 2018 WL

9414018, at *3 (S.D. Ohio Mar. 27, 2018) (Simply asserting that information is privileged is

insufficient to meet the burden. (internal quotation omitted)).

       In a footnote, FirstEnergy suggests that the Court should simply accept the Amended ONeil

Declaration into evidence under Federal Rule of Civil Procedure 53(f)(1). (Id. at 40 n.17). The Court




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has discretion under this rule to receive evidence [i]n acting on a masters order. Fed. R. Civ. P.

53(f)(1). But the Court declines to do so here. See In re Cathode Ray Tube (Crt) Antitrust Litig., No.

07-c-5944, 2016 WL 945981, at *2 (N.D. Cal Mar. 14, 2016) (Although the Court may have the

power to consider for the first time evidence never considered by the Special Master, it is a power

that should be exercised rarely and cautiously.). To accept the amended ONeil Declaration now

would defeat [the] purpose of appointing a Special Master and deprive the Court of his expertise.

Id. Plus, accepting evidence and documents not considered by the Special Master would prolong and

expand litigation, rather than resolve issues expeditiously. See id. at *2 (citing Absolute Software,

Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1131 (Fed. Cir. 2011)); (See Doc. 541 at 2 ([T]he Court

finds that appointment of a Special Master will assist the Court in both effectively and

expeditiously facilitating the exchange of information and discovery between the parties, including

resolving any discovery disputes and preparing this case for dispositive motions and trial.).

       Turning to the heart of the objection, FirstEnergy contends that other evidence in the record

supports the notion that the materials sought by Movants are protected by attorney-client privilege

and work-product doctrine. (Doc. 607-1 at 4042). But in its objections, FirstEnergy still offers scant

evidence to support its arguments. (Doc. 607-1 at 4142). In its briefs, FirstEnergy highlights

documents stating that the company was conducting internal investigations related to ongoing

government investigations, that the Department of Justice was interested in the outcome of those

investigations, and that FirstEnergy faced many potential lawsuits. (Id. at 42; see also id. at 6467).

But little of this evidence was highlighted in FirstEnergys response to the motion to compel. (See

Doc. 510; Doc. 607-1 at 6667); Laethem Equip. Co. v. Deere & Co., No. 05-10113, 2008 WL

4793355, at *2 (E.D. Mich. Nov. 3, 2008) (stating that a court is not required to search the entire

record to find evidence to support a partys claims). And FirstEnergy provides no support for its




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assertion that the Special Master did not consider all the evidence in the record, other than its belief

that he decided the matter incorrectly. See Laethem Equip. Co., 2008 WL 4793355, at *2 (overruling

an objection that a magistrate judge failed to consider all the evidence where the objection was

seemingly premised on the defendants belief that the magistrate judge would have reached a

different conclusion had he reviewed certain evidence cited by the defendant).

        But even if FirstEnergy had more emphatically highlighted the other evidence mentioned in

its objections, and even if the Special Master had more clearly cited it, the outcome would have been

the same, because none of it directly addresses the crux of the issue: FirstEnergys intentions behind

the internal investigations. As the Special Master stated, FirstEnergy had the burden of establishing

that the materials sought were protected by attorney-client privilege and work-product doctrine. (Doc.

571 at 1415). Without the ONeil Declaration, FirstEnergy provides no persuasive evidence that

speaks to the investigations purposes, such as whether withheld documents contained legal advice or

were created in anticipation of litigation.

        As such, FirstEnergys objection is OVERRULED, and the Court turns now to the Special

Masters analysis of attorney-client privilege and work-product doctrine.

                                    2. Attorney-Client Privilege

        FirstEnergy objects to the standard used by the Special Master in analyzing whether the

investigations were protected by attorney-client privilege. (Doc. 607-1 at 4243).

        The Court reviews de novo the Special Masters decision on whether attorney-client privilege

exists. In re Columbia/HCA Healthcare Corp. Billing Pracs. Litig., 293 F.3d 289, 29394 (6th Cir.

2002). Where a client seeks legal advice from a professional legal advisor, the communications

relating to that purpose made in confidence are protected by the attorney-client privilege. In re OM

Sec. Litig., 226 F.R.D. 579, 587 (N.D. Ohio 2005) (citing Reed v. Baxter, 134 F.3d 351, 35556 (6th




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Cir. 1998)). Claims of attorney-client privilege are narrowly construed, since the privilege reduces

the amount of information discoverable during the course of a lawsuit. In re Columbia, 293 F.3d at

294 (internal quotation omitted).     Accordingly, attorney-client privilege applies only where

necessary to achieve its purpose and protects only those communications necessary to obtain legal

advice. Id. (quoting In re Antitrust Grand Jury, 805 F.2d 155, 162 (6th Cir. 1986)). Said differently,

only disclosures necessary to obtain informed legal advice and which might not have been made

absent the privilege are protected. Fisher v. United States, 425 U.S. 391, 403 (1976).

       Notably, the burden of establishing attorney-client privilege rests on the party asserting it. In

re Grand Jury Investigation, 723 F.2d at 450. And the privilege is not unlimited. For example, an

attorneys mere participation in business meetings does not establish the privilege. Alomari v. Ohio

Dept of Pub. Safety, No. 2:11-cv-613, 2014 WL 12651191, at *3 (S.D. Ohio June 19, 2014)

(collecting cases). Still, the fact that business considerations are weighed in the rendering of legal

advice does not vitiate the attorney-client privilege. Zigler v. Allstate Ins. Co., No. 1:06-cv-2112,

2007 WL 1087607, at *1 (N.D. Ohio Apr. 9, 2007) (internal quotation omitted). The relevant test is

whether the predominant purpose of the communication is to render or solicit legal advice. Cooey,

269 F.R.D. at 650.

       In deciding the internal investigation was not privileged, the Special Master concluded that

the internal investigation was at least prepared in the ordinary course of business pursuant to SEC

public requirements unrelated to litigation and for non-litigation human resources/public relations

purposes. (Doc. 571 at 15). FirstEnergy asserts that this ordinary course of business purpose

bears on work-product, not attorney-client privilege. (Doc. 607-1 at 43) (emphasis in original). But

FirstEnergys argument is misguided. In deciding whether the privilege applied, the Special Master

was required to ascertain if the predominant purpose of the internal investigation was to conduct




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business or to solicit or render legal advice. Cooey, 269 F.R.D. at 650.

       FirstEnergy responds that having a business purpose does not undercut a claim of privilege,

since legal advice is necessarily given in business organizations and during internal investigations.

(Doc. 607-1 at 4344). That is true. See Alomari, 2014 WL 12651191, at *3. But FirstEnergy again

misses the ultimate issue. Whether the internal investigations purpose was primarily business or

human resources-related is crucial in determining whether the privilege exists, because the

investigations predominant purpose must be legal for the privilege to apply. And ultimately, the

burden of proving that legal purpose rests on FirstEnergy.

       As the Court discussed above, FirstEnergy failed to provide sufficient evidence to meet its

burden. FirstEnergy provided no direct evidence of the motivations behind the internal investigation

other than the deficient ONeil Declaration, which the Special Master properly rejected. FirstEnergys

general references to lawsuits it faced and its cooperation with the government are not persuasive

enough to show that communications within the internal investigation are privileged. That is because

parties invoking the privilege have an obligation to identify with particularity the privileged

documents and why these documents are privileged. In re Rospatch Sec. Litig., Nos. 1:90-cv-805,

806, 807, 1:91-cv-085, 1991 WL 574963, at *8 (W.D. Mich. Mar. 14, 1991). Communications are

not privileged simply because [they are] made by or to a person who happens to be an attorney. . .

The attorney receiving or providing privileged communication[s] must be acting as an attorney and

not as a business advisor. Id. (internal citations omitted). Consequently, pointing to impending

lawsuits does not establish that individual communications and documents are privileged because,

within those materials, attorneys could be acting as business or human resources advisors and not as

legal advisors. Indeed, FirstEnergy acknowledges that they used the internal investigations for many

purposes, including business and employment decisions. (Doc. 510 at 20, 2526). Yet FirstEnergy




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does not clarify what materials, if any, contain only confidential communications for the predominant

purpose of rendering legal advice, and which materials were primarily made for other reasons.

        Instead, FirstEnergy broadly asserts, without providing details, that because the company

faced several lawsuits and eventually cooperated with the government, all the investigations

materials must be privileged. (Doc. 510 at 24 (relying on the ONeil Declaration, common sense,

and the existence of legal risk to show that the investigations must be privileged); Doc. 607-1 at 42

(providing other evidence besides the ONeil Declaration to establish privilege, which included

pending and threatened legal proceedings, but no information on the companys motivations

individual communications)). Again, FirstEnergy fails to provide any descriptions of specific

document[s] being withheld or redacted or detail sufficient. . . to assess a claim of privilege. Casale

v. Nationwide Child.s Hosp., 2:11-cv-1124, 2013 WL 12203243, at *3 (S.D. Ohio Sept. 13, 2013).

Said simply, FirstEnergy did not provide specifics on when, where, how, to whom, and in what

manner legal advice was communicated during the internal investigations and therefore failed to

meet its burden. Allied Irish Banks v. Bank of Am., N.A., 240 F.R.D. 96, 104 (S.D. N.Y. 2007); see

also In re Rospatch Sec. Litig., 1991 WL 574963, at *5 (It is the burden of the asserter of the privilege

to establish that each document in question involves a communication made in confidence.); Cooey,

269 F.R.D. at 649 ([M]erely conclusory statements may not be enough to establish whether the

privilege applies.).

        FirstEnergy also agreed not to keep more extensive privilege logs, which could have helped

the Special Master determine the nature of communications created during the internal investigation.

(See Doc. 295); see also In re Columbia, 293 F.3d at 307 (discussing that strategic decisions, like

disclosing communications to the government, may have consequences, like a waiver of privilege).

Without a log or the opportunity for in camera review, the Special Master could not independently




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determine whether materials were made with a predominant purpose of soliciting or rendering legal

advice. Raab v. New England Fin., No. 2:10-cv-186, 2011 WL 12614881, at *2 (S.D. Ohio Apr. 8,

2011) (finding that parties asserting the privilege must provide[] sufficient information to establish

the factual predicates for the assertion of the privilege or protection) (citing Fed. R. Civ. P. 26(b)(5));

cf. Zigler, 2007 WL 1087606, at *24 (finding, after in camera review, that the requested documents

were properly shielded by the privilege). The Special Master rightly considered only the record

and arguments before him. FirstEnergy failed to meet its burden of proving that the predominant

purpose of the internal investigation was legal. Accordingly, this objection is OVERRULED.

                                      3. Work-Product Doctrine

        Turning to work-product doctrine, FirstEnergy similarly argues that the Special Master

applied the wrong standard. (Doc. 607-1 at 44). According to FirstEnergy, the Special Master erred

in using a primary or sole purpose test rejected by the Sixth Circuit in United States v. Roxworthy,

457 F.3d 590, 59899 (6th Cir. 2006). (Id. at 46). The Court reviews the Special Masters decisions

on work-product doctrine for abuse of discretion because the Sixth Circuit instructs that, unlike

attorney-client privilege, such matters fall within the scope of discovery. Roxworthy, 457 F.3d at 592,

n.1.

        Work-product doctrine protects documents prepared in anticipation of litigation. Id. at 594.

To show that a document was prepared in anticipation of litigation, a party must establish that: (1) the

document was prepared because of a partys subjective anticipation of litigation, as contrasted with

ordinary business purpose[s]; and (2) the partys subjective anticipation was objectively reasonable.

In re Pros. Direct Ins. Co., 578 F.3d 432, 439 (6th Cir. 2009). Documents produced to assist with a

business decision do not lose work-product protection unless the documents would have been

created in essentially similar form irrespective of the litigation. Id. at 59899. Said differently, while




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a document can be used both in the ordinary course of business and in anticipation of litigation without

losing work-product protection, a courts inquiry centers on whether documents were prepared or

obtained because of the prospect of litigation. McNeil v. Mount Carmel Health Sys., No. 2:20-cv-

258, 2021 WL 5235103, at *4 (S.D. Ohio Nov. 10, 2021) (citing Cooey, 269 F.R.D. at 647). Again,

FirstEnergy, as the party asserting work-product protection, bears the burden of proving that each

document withheld was created because of litigation. Id. (internal quotation omitted).

        Contrary to FirstEnergys arguments, the Special Master applied the correct standard. (Doc.

571 at 6). Under Sixth Circuit precedent, the Special Master was tasked with determining if the

materials sought were made because of litigation or if they would have been prepared in

substantially the same manner regardless of litigation. (Doc. 571 at 67) (citing cases). And without

the ONeil Declaration, the Special Master found that FirstEnergy had not shown the internal

investigation was conducted because of litigation, and not because of employment decisions and

business concerns. (Id. at 14 (Thus, Plaintiffs assessment of the investigation rings true: FirstEnergy

has failed to carry its burden to demonstrate it would not have commissioned substantially similar

investigations to determine which employees were involved in a massive criminal corruption scheme

but for the possibility of litigation. (internal quotation omitted))). Upon review, this Court cannot

say the Special Master abused his discretion in finding so.

        In its objections, FirstEnergy offers various lawsuits against the company as proof that the

materials sought were produced for litigation purposes. (Doc. 607-1 at 45). But FirstEnergys general

references fail to satisfy its burden. Movants claimed that FirstEnergy conducted the internal

investigation to satisfy its auditor, PricewaterhouseCoopers, so the company could file its necessary

Form 10-Q; to evaluate which executives should be terminated; and to avoid a declaration of default

by lenders by striking a deal with the government. (Doc. 607-1 at 56, citing Doc. 529 at 7, 1012).




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And while FirstEnergy argues that these interests overlap with concerns over litigation, the company

provided no direct evidence that materials created during the internal investigation were created

because of litigation, and not for these other reasons. In re Pros. Direct Ins.Co., 578 F.3d at 439

(finding that a partys general arguments that documents were both for business purposes and for

litigation purposes were not enough to satisfy their burden); see also Allied Irish Banks, 240 F.R.D.

at 107 (finding no work-product protection where a party failed to provide evidence of what it would

have done without the threat of litigation).

        FirstEnergy again relies on the rejected ONeil Declaration as evidence that the

investigations would not have been undertaken absent then-pending and anticipated legal proceedings

against the Company. (Doc. 607-1 at 48). But putting aside the ONeil Declarations deficiency,

this too is a conclusory statement that does not help FirstEnergy meet its burden. Affidavits

supporting work-product protection must be specific and detailed to indicate that the documents were

prepared in anticipation of litigation . . . . [a]nd application of work-product protection will be rejected

where the only basis for the claim is an affidavit containing conclusory statements. McNeil, 2021

WL 5235103, at *4 (internal citations and quotations omitted); see also Biegas v. Quickway Carriers,

Inc., 573 F.3d 365, 38182 (6th Cir. 2009) (Quickway did not come forward with any affidavits or

similar proof demonstrating that Daileys statement was prepared in anticipation of litigation, much

less the kind of specific and detailed evidentiary material that would be sufficient to meet this burden.

(internal quotation omitted)). FirstEnergy did not provide specific, non-conclusory evidence to

establish that litigation was the driving force behind the preparation of the disputed materials.

Roxworthy, 457 F.3d at 595. And again, FirstEnergy did not submit documents to the Special Master

for in camera review, so the Special Master could not independently determine their purposes.

        As such, FirstEnergy has not established that the materials created during the internal




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investigation are entitled to work-product protection, and its objection is OVERRULED.

                                        E. Order to Disclose

       Next, FirstEnergy argues that the Special Master erred in ordering deposition witnesses to

answer all fact-related questions (past and future) related to the internal investigation. (Doc. 607-1

at 52). Because the Special Masters order is within the scope of discovery, the Court reviews it

for abuse of discretion. See Ciccio, 2022 WL 2182301, at *1; see also Humble v. Mountain State

Const. Co., 441 F.2d 816, 81819 (6th Cir. 1971) (reviewing the courts failure to order the plaintiff

to answer written and oral questions for abuse of discretion).

       In his November 29 order, the Special Master instructed witnesses to answer all fact-related

questions, even if they learned of those facts due to the internal investigation. (Doc. 571 at 17).

During the November 30 status conference, the Special Master clarified this order:

       [D]iscovery of the facts is permissible. Discovery of the attorneys at this point is not.
       Discovery of the attorneys legal conclusions derived from those facts or thought
       processes to produce those facts is not discoverable. But the fact that a witness learned
       of a factual allegation or representation or statement of fact from an investigator or as
       a result of the investigation is fair game for discovery under my order.

(Doc. 587 at 2324).

       Neither the attorney-client privilege nor the work product doctrine applies to prevent the

disclosure of underlying facts, regardless of who obtained those facts. Graff v. Haverhill North Coke

Co., No. 1:09-cv-670, 2012 WL 5495514, at *50 (S.D. Ohio Nov. 13, 2012) (citing Upjohn Co. v.

United States, 449 U.S. 383, 395 (1981)). Consequently, facts communicated from a lawyer to a

witness are not protected. See Smith v. Gen. Mills, Inc., No. 2:04-cv-705, 2006 WL 7276959, at *4

(S.D. Ohio Apr. 13, 2006) (finding a witness must disclose facts, even though the facts were conveyed

to her by attorneys). Work-product and privilege concerns arise only if the inquiring party asks

questions about attorneys mental impressions of facts, attorneys advice, or attorneys view as to




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the significance or lack thereof of particular facts. Smith, 2006 WL 7276959, at *4.

       Seemingly, FirstEnergy argues that all facts about the internal investigation are privileged or

protected because, at some point, these facts were communicated by lawyers to various individuals.

Time and again, courts have rejected this type of argument. While communications between attorneys

and clients are privileged, facts are not. Humphreys, Hutcheson and Moseley v. Donovan, 755 F.2d

1211, 1219 (6th Cir. 1985) (citing Upjohn Co., 449 U.S. at 395). And facts do not become privileged

or protected because they were provided to witnesses by attorneys or acquired in anticipation of

litigation. See, e.g., Protective Nat. Ins. Co. of Omaha v. Commonwealth Ins. Co., 137 F.R.D. 267,

280 (D. Neb. 1989) (There is simply nothing wrong with asking for facts from a deponent even

though those facts may have been communicated to the deponent by the deponents counsel.); United

States v. BAE Sys. Tactical Vehicle Sys., LP, No. 15-12225, 2017 WL 1457493, at *56 (E.D. Mich.

Apr. 25, 2017); Basulto v. Netflix, Inc., No. 22-21796, 2023 WL 3197655, at *23 (S.D. Fl. May 2,

2023) ([F]act-oriented discovery is permitted even if the witness learned about the facts from her

attorneys.); Clear Cast Grp., Inc. v. Ritrama, Inc., No. 1:09-cv-169, 2011 WL 13334451, at *6 (N.D.

Ohio Sept. 15, 2011). So too here. Facts related to the internal investigation are not shielded simply

because they were funneled through attorneys to witnesses.

       To the extent FirstEnergy asserts that the Special Masters order allows privileged information

to be disclosed, FirstEnergy misreads the order. The Special Master clearly stated that privileged or

protected information is not discoverable. For example, the Special Master said that while facts are

discoverable, [d]iscovery of the attorneys. . . is not. (Doc. 587 at 23). The Special Master further

clarified that [d]iscovery of the attorneys legal conclusions derived from those facts or thought

processes to produce those facts is not discoverable. (Id. at 2324). Thus, FirstEnergys objection

is OVERRULED.




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                     F. Waiver of Privilege and Work-Product Protections

        Finally, FirstEnergy objects to the Special Masters characterization that the parties took an

all or nothing approach to the internal investigation. (Doc. 607-1 at 5961). In his order, the Special

Master observed that the parties repeatedly bundled the Squire and Jones Day investigations into

one, multi-phase effort, seemingly taking the stance that everything is discoverable or nothing is.

(Doc. 571 at 16). FirstEnergy contends that this Court should reject that approach and instead order

additional logging of privileged documents or sampling of documents for in camera review to

determine what materials are privileged or protected. (Doc. 607-1 at 6061).

        FirstEnergys request is too little, too late. It is not this Courts role belatedly to help

FirstEnergy cure the consequences of its strategic decisions. FirstEnergy claims they objected to

Movants general request for the internal investigations materials, but FirstEnergy only did so in a

footnote. (See Doc. 510 at 20, n.5); see, e.g., United States v. Dairy Farmers of Am., Inc., 426 F.3d

850, 856 (6th Cir. 2005) (An argument contained only in a footnote does not preserve an issue for

our review.). FirstEnergy also made the decision not to maintain privilege logs for materials

concerning H.B. 6 dated after July 21, 2020. (Doc. 510 at 20, n.5). Consequently, that choice

resulted in the Special Master lacking detailed logs to distinguish between the Squire and Jones Day

portions of the investigation. The company also never requested in camera review of any materials.

(Doc. 607-1 at 61; Doc. 571 at 16). Because of FirstEnergys decisions, the Special Master had to

rely on the parties arguments and representations of what the withheld materials contained and why

they were created. (See Doc. 571 at 16 (recognizing this unusual approach by the parties)).

        And as the Special Master said, throughout the extensive briefing on the motion to compel,

the parties seemingly bundled the Squire and Jones Day investigations into one. For example, in its

response to the motion to compel, FirstEnergy discussed the investigations together, without making




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significant arguments that each phase was privileged or protected. (See, e.g., Doc. 510 at 18, n.4

(The internal investigations undertaken by Squire on behalf of the SIC and IRC, and the internal

investigation undertaken by Jones Day, are referred to collectively herein as the Investigations.);

Id. at 2426 (discussing the investigations and their purposes together); Id. at 3539 (same)). While

FirstEnergy made a belated attempt to separate the two investigations during oral argument, the

company failed to provide evidence other than the ONeil Declaration to support its position. (Doc.

612 at 25, 37, 46; Doc. 571 at 1617); see also United States v. Huntington Nat. Bank, 574 F.3d 329,

33233 (6th Cir. 2009) (To raise an argument, a litigant must provide some minimal argumentation

in favor of it.).

        Even though the parties conflated the investigations, the Special Master also analyzed the

investigations separately before granting the motion to compel. (Doc. 571 at 1617). Either way, the

Special Master found that FirstEnergy failed to meet its burden to establish privilege or work-product

protection. (Id. at 1617). The Court finds no error in this approach or conclusion.

        As previously discussed, without the ONeil Declaration, FirstEnergy presented no persuasive

evidence of the motivations behind each investigation. Even though FirstEnergy objects to the

Special Masters all or nothing characterization, he still analyzed each investigation individually

and concluded that FirstEnergy failed to present sufficient evidence that either investigation was

protected. (Doc. 571 at 1617). Accordingly, the Special Master did not err, and this objection is

OVERRULED.

        As a final note, the parties extensively briefed additional issues regarding waiver of privilege

and work-product doctrine. (Doc. 607-1 at 5461; Doc. 614 at 1017; Doc. 615 at 4356). But the

Special Master did not reach these questions. (Doc. 571 at 16). The Court agrees that the Special

Master did not need to address them, having correctly found that attorney-client privilege and work-




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product doctrine do not protect the sought materials. (Id.). Likewise, the Court finds it unnecessary

to decide those questions now. Therefore, any objections made by FirstEnergy concerning waiver

are OVERRULED.

                                          IV.      Other Motions

        In the aftermath of the Special Masters granting of the Motion to Compel, (Doc. 489),

FirstEnergy filed a flurry of motions, including a Motion to Stay the Special Masters November 29,

2023, Order (Docs. 573, 574); a Motion for Reconsideration of the Special Masters November 29

and November 30 Orders (Doc. 592); and a Motion for Leave to File a Reply to FirstEnergys

Objections (Doc. 622). The Special Master denied or recommended denying the Motions. (See Docs.

634 (recommending denying FirstEnergys motion for a stay), 636 (denying FirstEnergys motion for

reconsideration), 635 (denying FirstEnergys motion for leave to file a reply)). Defendants objected

to all of the rulings. (Doc. 643 (certain individual Defendants objections to the Special Masters

Order denying a stay); Doc. 644 (FirstEnergys objections to the Special Masters denial of the motion

to stay); Doc. 645 (FirstEnergys objections to the Special Masters denial of its motion for

reconsideration); Doc. 640 (FirstEnergys objections to the denial of leave to file a reply)). These

matters are largely moot under this Order. Nonetheless, the Court briefly addresses each below.

                          A. Order Denying FirstEnergys Motion to Stay

        After the Special Master granted the Motion to Compel, FirstEnergy moved to stay that

decision pending resolution of its objections. (Doc. 574 at 9). Because this Order has overruled

those objections, FirstEnergys Motion to Stay is now MOOT.

        Yet Defendants3 raise additional concerns about the Special Masters comments on


3
 Individual defendants Paul T. Addison, Michael J. Anderson, Steven J. Demetriou, Julia L. Johnson, Jason J.
Lisowski, Donald T. Misheff, Thomas N. Mitchell, James F. ONeil III, Christopher D. Pappas, Sandra Pianalto, Luis
A. Reyes, George M. Smart, Steven E. Strah, K. Jon Taylor, Jerry Sue Thornton, Leslie M. Turner, and James F.



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depositions in this case. (See Doc. 643 at 23; Doc. 644 at 1314). Specifically, Defendants take

issue with the Special Masters statement that Plaintiffs may reserve time for depositions and resume

them after the objections concerning the internal investigation materials are resolved. (See id.; see

also Doc. 587 at 3132 (granting Plaintiffs request to reserve time)). Defendants say this procedure

burdens witnesses and effectively modifies the deposition protocol for this case. (Doc. 643 at 23;

Doc. 644 at 1314). The record is not clear on whether depositions have occurred since the Special

Masters Order granting the Motion to Compel. If no depositions have taken place, this issue is now

moot because this Order overrules FirstEnergys objections regarding the internal investigation

materials.

         Regardless, Defendants arguments are not persuasive. The Special Masters statement did

not modify the deposition protocol in this case. The deposition protocol allows for up to eighteen

hours for each fact deposition, divided evenly between Plaintiffs and Defendants. (Doc. 355 at 1

2). The protocol also states that witnesses may be deposed only once [a]bsent agreement of the

Parties or order of the Court. (Id. at 2). At the time of this deposition protocol, no special master

had been appointed. Now, under his Appointment Order, the Special Master is charged with

address[ing] pretrial matters, including establishing discovery schedules, resolving discovery

disputes, overseeing docket management, and generally supervising formal discovery. (See Doc. 541

at 34). Managing depositions is soundly within his duties. (See id. at 541 (stating the Special Master

has the authority from the Court to carry out these duties)); see also Accusoft Corp., 237 F.3d at 58

(During the performance of his duties, a master is functionally indistinguishable from a trial judge.).

Thus, the Special Master has the authority to manage depositions. Defendants objections on this



Pearson joined in FirstEnergys objections to the Special Masters Order on the Motion to Stay. (See Docs. 643, 644).
As such, this Court refers to this collective as Defendants for the purposes of this section regarding the Motion to
Stay.


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pointto the extent that they are not mootare OVERRULED.

                 B. Order Denying FirstEnergys Motion for Reconsideration

       Next, this Court has reviewed FirstEnergys objections to the Special Masters Order denying

its Motion for Reconsideration (Doc. 645). In its objections, FirstEnergy relies on its previous and

extensive briefing. (Doc. 645 at 2 (citing previous filings)). This Order MOOTS the Motion for

Reconsideration, and FirstEnergys objections (Doc. 645) are OVERRULED.

                             C. Order Denying FirstEnergys Reply

       Finally, FirstEnergy objects to the Special Masters Order denying its motion for leave to file

a reply brief to its objections. (Doc. 640). Because of this Order, this issue is MOOT. But again,

FirstEnergy challenges the Special Masters authority.

       As stated above, the Special Master is tasked with overseeing management of the docket in

this action, as well as directing and supervising implementation of and compliance with this Courts

orders. (Doc. 541 at 4). This Court previously ordered that the parties will not have the opportunity

to file a reply to the response [to objections] unless otherwise ordered by the Court. (Doc. 576 at 2).

Said differently, this Order means that no reply briefs shall be filed for objections, unless the Court

orders otherwise. Here, the Court did not order a reply brief to FirstEnergys objections concerning

the Motion to Compel. Rather, FirstEnergy sought leave to file such a reply. The Special Master,

carrying out his duty to manage the docket and comply with this Courts orders, properly denied

FirstEnergys motion. Any objection to the Special Masters Order denying a reply is therefore

OVERRULED.

                                         V.      Conclusion

        For the foregoing reasons, FirstEnergys objections (Doc. 607) to the Special Masters

Order granting the Motion are not well-taken and are OVERRULED. Furthermore, Defendants




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objections concerning FirstEnergys motion for a stay, motion for reconsideration, and motion for

a reply (Docs. 640, 643, 644, 645) are OVERRULED. The Clerk is DIRECTED to terminate

FirstEnergys Motion to Stay (Doc. 573), which is MOOT under this Order.

       IT IS SO ORDERED.



Date: May 6, 2024
                                            ALGENON L. MARBLEY
                                            CHIEF UNITED STATES DISTRICT JUDGE


                                            /s/ Kimberly A. Jolson
                                            KIMBERLY A. JOLSON
                                            UNITED STATES MAGISTRATE JUDGE




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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

In re FIRSTENERGY CORP. SECURITIES              )   No. 2:20-cv-03785-ALM-KAJ
LITIGATION                                      )
                                                )   CLASS ACTION
                                                )
This Document Relates To:                       )   Judge Algenon L. Marbley
                                                )   Magistrate Judge Kimberly A. Jolson
ALL ACTIONS                                     )
                                                )
MFS Series Trust I, et al.,                     )   Case No. 2:20-cv-03785-ALM-KAJ
                                                )
                       Plaintiff,               )
                                                )
       vs.                                      )
                                                )
                                                )
FirstEnergy Corp., et al.,                      )
                                                )
                       Defendant.               )

                                                )
Brighthouse Funds Trust II  MFS Value          )   Case No. 2:20-cv-03785-ALM-KAJ
Portfolio, et al.,                              )
                                                )
                       Plaintiffs,              )
                                                )
       vs.                                      )
                                                )
                                                )
FirstEnergy Corp., et al.,                      )
                                                )
                       Defendant.               )



                        DECLARATION OF JAMES F. ONEIL, III
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                  I, James F. ONeil, III, hereby declare under penalty of perjury as follows:

          1.      I am an independent director serving on FirstEnergy Corp.s Board of Directors. I

have been a member of the Board since January 17, 2017.

          2.      I am currently the Chair of the Boards Compensation Committee and have been

since May 2019, and I have been a member of the Boards Audit Committee since May 2022. I

was also a member of the Audit Committee from May 2017 to May 2019. I previously served as

the Chair of the Boards Audit Committee from May 2018 to May 2019, and I was a member of

the Boards Operations and Safety Oversight Committee (formerly, the Nuclear Committee) from

May 2017 to May 2022.

   I.          Householder Criminal Complaint and the Legal Actions Against FirstEnergy

          3.      On July 21, 2020, the United States Department of Justice (DOJ) arrested former

Speaker of the Ohio House of Representatives Larry Householder and unsealed a criminal

complaint (the Householder Complaint) alleging that Householder was a member of a criminal

enterprise that helped pass Ohio House Bill 6, known as H.B. 6, in exchange for payments from

an unnamed company. The Householder Complaint alleged that senior officers of that unnamed

company had participated in this criminal enterprise. This was brought to the attention of directors

rapidly because FirstEnergy management, as well as financial analysts and the media, understood

that the unnamed company referred to FirstEnergy.

          4.      The same day, FirstEnergy received grand jury subpoenas in connection with the

DOJs criminal investigation into Householder and the alleged criminal enterprise concerning

H.B. 6.

          5.      After the DOJ unsealed the Householder Complaint, Board members and

FirstEnergy anticipated that the Company would face government investigations, civil litigation,

and regulatory proceedings related to the Companys role in the alleged events described in the

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Householder Complaint. By the next day, July 22, 2020, the price of FirstEnergys common stock

had declined by 34%. Board members and FirstEnergy anticipated that the drop in FirstEnergys

stock price would trigger the filing of claims under the federal securities laws, as commonly occurs

when public companies experience sharp stock declines following negative news.

         6.      Numerous legal proceedings were commenced within weeks of the unsealing of the

Householder Complaint, including this lawsuit and the lawsuits described below, all of which

stemmed from the allegations in the Householder Complaint. Some examples of these legal

proceedings are described below.

         7.      On July 26, 2020, stockholders of FirstEnergy filed a shareholder derivative action

against FirstEnergy directors and officers in Ohio state court, alleging, among other things,

breaches of fiduciary duty.

         8.      On July 27, 2020, utilities customers of FirstEnergy filed a class action asserting

civil Racketeer Influenced and Corrupt Organizations Act claims against FirstEnergy in federal

court.

         9.      On July 28, 2020, a stockholder of FirstEnergy filed a class action lawsuit asserting

that FirstEnergy and its senior executives violated federal securities fraud laws, which I understand

was the first-filed complaint in this action. On July 28, 2020, I also received a notification that

FirstEnergy had instituted a litigation hold for documents related to the allegations in the

Householder Complaint.

         10.     By August 7, 2020, as FirstEnergy publicly disclosed, eight civil lawsuits were

already pending against FirstEnergy in state and federal courts relating to the allegations in the

Householder Complaint and the DOJs investigation into H.B. 6.




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         11.      On August 10, 2020, FirstEnergy received a formal order of investigation from the

U.S. Securities and Exchange Commission (SEC) relating to the allegations in the Householder

Complaint.

   II.         The Squire Investigation for the Special Investigation Committee and the
               Independent Review Committee

         12.      In late July 2020, the Board held several special meetings to discuss the Companys

response to the DOJ criminal investigation and litigation filed against FirstEnergy.

         13.      By July 25, 2020, the Board had decided to retain Squire Patton Boggs LLP to

conduct an internal investigation into the allegations in the Householder Complaint. The Board

chose Squire because it did not regularly engage in legal work for FirstEnergy and because Squire

had substantial experience conducting internal investigations. Joseph Walker, the lead partner on

the Squire investigation team, was a former criminal prosecutor with the DOJ and, as a partner at

Squire, had led numerous internal investigations for large institutions.

         14.      Shortly thereafter, on or around July 28, 2020, the Board authorized the formation

of a Special Investigation Committee (SIC).

         15.      The Board formed the SIC to provide independent oversight over Squires internal

investigation of the allegations in the Householder Complaint.

         16.      The members of the SIC were all independent directors (i.e., directors who were

not part of FirstEnergy management). I was one of the ten independent directors who were

members of the SIC.

         17.      On or around July 28, 2020, the SIC formally engaged Squire to conduct the

internal investigation. The SIC met frequently with Squire to discuss Squires investigative

findings, legal analyses, and assessments of potential criminal and civil liability.




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          18.      On or around September 8, 2020, after the SIC had completed its work on the initial

phase of the internal investigation, the Board formed the Independent Review Committee (IRC).

          19.      Like the SIC, the IRC was exclusively comprised of independent directors, and I

was one of the twelve independent directors that comprised the IRC. The IRC was formed to

provide ongoing independent oversight of counsels investigative work and ongoing review and

assessment of the legal risks associated with the allegations in the Householder Complaint, the

DOJ criminal investigation, the SEC investigation, and other pending and anticipated legal

proceedings.

          20.      The IRC engaged Squire to continue its investigative work and to advise the IRC

on the risks described above.

          21.      The IRC met frequently with Mr. Walker and other Squire attorneys to discuss

Squires investigative findings, legal analyses, and assessments of potential criminal and civil

liability. Squire continued to advise the IRC until at least June 2021.

   III.         The Jones Day Investigation for FirstEnergy

          22.      On or around July 22, 2020, FirstEnergy retained Jones Day to advise the Company

on its response to the DOJ criminal investigation and to conduct an internal investigation into the

allegations in the Householder Complaint.

          23.      Stephen Sozio led the Jones Day team. Prior to joining Jones Day, Mr. Sozio spent

ten years as an investigating prosecutor for the Organized Crime Strike Force Unit of the U.S.

Attorneys Office for the Northern District of Ohio. As a partner at Jones Day, Mr. Sozio had

conducted numerous internal investigations in response to federal and state criminal and regulatory

investigations.

          24.      The Jones Day internal investigation was independent of and separate from the

Squire investigation.

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         25.      FirstEnergy also retained Jones Day to represent the Company in many of the

lawsuits related to the allegations in the Householder Complaint and to advise the Company on its

response to the SEC investigation.

   IV.         The Reasons for the Investigations

         26.      I understand that Plaintiffs in this action, plaintiffs in other related lawsuits against

FirstEnergy, and two defendants in this action (Charles Jones, FirstEnergys former Chief

Executive Officer, and Michael Dowling, FirstEnergys former Senior Vice President of External

Affairs) (together, Movants) have claimed that the internal investigations by FirstEnergy and its

Board committees were not undertaken because of the DOJ criminal investigation and the pending

and anticipated litigation, but that instead the investigations were undertaken for various business

reasons.

         27.      This is not correct. Squire was retained by the SIC and the IRC, and Jones Day

was retained by FirstEnergy, to conduct internal investigations in response to the DOJ criminal

investigation and the pending and anticipated litigation matters described above, which include

this securities class action. These investigations were not undertaken to appease PwC or because

of concerns about raising capital, as I understand Movants suggest.

         28.      As the internal investigations unfolded, the information and facts that Squire and

Jones Day discovered through their investigative work were used to help inform employment

decisions, and those firms also provided legal advice to assist the IRC in making legally sound

employment decisions. But any employment-related issues were ancillary and not the primary

reason for engaging these firms or for their investigatory work.

         29.      Were it not for the DOJ criminal investigation and pending litigation in late July

2020and further anticipated litigation and regulatory proceedings, which later materialized

the internal investigations would not have been undertaken. The internal investigations were

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